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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


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In re: Keurig Green Mountain Single-Serve   :         Case No. 1:14-md-02542 (VSB) (SLC)
Coffee Antitrust Litigation                 :         MDL No. 2542
                                            :
                                            :         Hon. Vernon S. Broderick
                                            :         Hon. Sarah L. Cave
This document concerns all related actions. :
                                            :         DECLARATION OF ALDO A. BADINI
                                            :
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I, Aldo A. Badini, declare as follows:

       1.      I am an attorney admitted to practice before the courts of the State of New York

and a partner at Winston & Strawn LLP. I am one of the attorneys representing Plaintiffs

TreeHouse Foods, Inc., Bay Valley Foods, LLC, and Sturm Foods, Inc. (collectively, “TreeHouse”

or “Plaintiffs”) in the above-captioned matter. I make this declaration on personal knowledge and

in support of Plaintiffs’ Motion to Exclude the Proposed Testimony of Hon. Arthur Gajarsa (Ret.).

If called as a witness, I could and would competently testify to the matters stated herein.

       2.      Consistent with the parties’ agreed-upon protocol in the above-captioned matter,

Defendant Keurig Green Mountain, Inc. (“Keurig”) disclosed Hon. Arthur Gajarsa as an expert

witness on July 1, 2020. A true and correct copy of Keurig’s July 1, 2020 Letter from Carl

Lawrence Malm to Plaintiffs re: Expert Identification Supplement is attached hereto as Exhibit C.

       3.      Thereafter, on July 2, 2020, Keurig indicated that Gajarsa was expected to offer

expert testimony regarding the “alleged objective baselessness of Keurig’s prior claims against

TreeHouse and JBR.” A true and correct copy of Keurig’s July 2, 2020 Letter from Carl Lawrence

Malm to Plaintiffs re: Expert Identification Supplement is attached hereto as Exhibit D.
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       4.      On July 8, 2020, at Plaintiffs’ request, the parties participated in a meet and confer

regarding Keurig’s disclosure of Gajarsa and the purported basis for his testimony. During the

meet and confer, Plaintiffs asked for clarification as to the expected nature of Gajarsa’s testimony,

given that objective baselessness is a question of law, and asked for any authority Keurig had that

suggested otherwise. Keurig failed to identify any legal authority for the proffered testimony of

Gajarsa.

       5.      Attached hereto as Exhibit A is a true and correct copy of an email dated July 31,

2020 from Mulan Cui to Keurig’s counsel memorializing the parties’ discussion during the July 8,

2020 meet and confer and disclosing, under protest, Randall R. Rader as a potential expert witness

to address any opinions proffered by Gajarsa.

       6.      To date, Keurig has not provided any authority for the legal opinions offered by

Gajarsa.

       7.      Attached as Exhibit B is a true and correct copy of the Expert Report of Arthur

Gajarsa, as submitted by Keurig.

       8.      Attached as Exhibits E and F are true and correct copies of an email chain, dated

December 14, 2020 through December 22, 2020, between Carl Lawrence Malm and Lauren

Duxstad regarding the Gajarsa Report.

       9.      Attached as Exhibit G is a true and correct copy of the Declaration of Mark C.

Wood in Support of Plaintiff Keurig, Inc.’s Motion for Preliminary Injunction, dated October 15,

2010, as filed in Keurig Inc. v. Sturm Foods Inc., 1:10-cv-000841-SLR-MPT, ECF No. 13 (D. Del.

Oct. 18, 2010).

       10.     Attached as Exhibits H and L are true and correct copies of excerpts from the Rule

30(b)(6) Deposition of Mark Wood on December 3, 2019, and February 14, 2020, respectively.



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       11.     Attached as Exhibit I is a true and correct copy of a document produced by Keurig

bearing Bates numbers KGM00840594 through KGM00840596.

       12.     Attached as Exhibit J is a true and correct copy of a document produced by Keurig

bearing Bates number KGM00840683.

       13.     Attached as Exhibit K is a true and correct copy of Keurig Green Mountain, Inc.’s

Responses and Objections to JBR Inc.’s Amended Requests for Admission Nos. 7-9, dated

November 23, 2020.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



 Dated: New York City, New York                    WINSTON & STRAWN LLP
        January 15, 2021

                                                   By: /s/ Aldo A. Badini

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                                                   Counsel for Plaintiffs TreeHouse Foods, Inc.,
                                                   Bay Valley Foods, LLC, and Sturm Foods,
                                                   Inc.




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